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                                UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OKLAHOMA

    1. R.P. Small Corp.,                       )
         Plaintiff,                            )          Case No. 19-cv-271-JED-JFJ
                                               )          Jury Trial Demanded       .
  v.                                           )
                                               )
    1. Ruchir A. Kadakia,                      )
        Defendant.                             )


                                             COMPLAINT

         Comes now Plaintiff, R.P. Small Corp. (“RPS” or “Plaintiff”) for its Complaint and claims

  against the Defendant, alleges and states as follows:

                                               PARTIES


         1.      R.P. Small Corp. (“RPS”) is an Illinois corporation with its principal place of

  business located in Tulsa, Oklahoma.

         2.      The Defendant, Ruchir A. Kadakia (“Kadakia” or “Defendant”), is an individual

  currently domiciled in Fairfield County, Connecticut.

         3.      The acts, events, and transactions complained of herein occurred by virtue of the

  execution of promissory notes, deemed executed in Tulsa County, Oklahoma, and the damages

  suffered by RPS as a result of Defendant’s breach of contract, and non-payment of the notes,

  occurred in Tulsa County, Oklahoma.

                                     JURISDICTION AND VENUE

         4.      This Court has jurisdiction over this action and the parties, pursuant to 28 U.S.C. §

  1332, as this is an action between a citizen of a state and a citizen of a foreign state where the

  matter in controversy exceeds the amount of $75,000, exclusive of interests and costs.




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         5.      Venue is proper in this judicial district under 28 U.S.C. § 1391, in that a substantial

  part of the events giving rise to the claims alleged herein occurred in this judicial district.

         6.      The Promissory Note and Guarantee Agreement underlying this Complaint were

  negotiated and entered into in Oklahoma, and the Note contains jurisdiction-consent provisions

  for the State of Oklahoma.

                                         FACTUAL ALLEGATIONS

         7.      On or around March 14, 2014, Tethys Trading LLC and RPS entered into a

  Promissory Note (“Note”), dated March 27, 2014. See Exhibit B.

         8.      As agreed, Kadakia signed and executed a personal guaranty (the “Guaranty”) to

  Plaintiff on or around that same date, March 14, 2014.

         9.      Pursuant to the Guaranty, Kadakia agreed to be joint and severally liable for breach

  of the Note. See Exhibit A, at ¶ 17.

         10.     On or around March 17, 2015, an extension to the Maturity Date was granted on

  the original Note for a period of twelve (12) months after March 27, 2015 to March 27, 2016. See

  Exhibit C.

         11.     According to the Personal Guaranty that was executed by Kadakia, he guaranteed

  the “full, prompt, and unconditional payment when due, of the Borrower’s (Tethys) Obligations

  due and owing to the Lender (RP Small Corp).” See Exhibit A, at p. 1.

         12.     Kadakia, as a Guarantor, also agreed to “immediately pay or perform the

  [Borrower’s Obligations].” The Guaranty specifically states: “[T]his Guaranty Agreement [is] an

  absolute, irrevocable and unconditional guaranty of full payment and performance and not a

  guaranty of collection.” See Exhibit A.




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                      I.      FIRST CAUSE OF ACTION – BREACH OF GUARANTY

         13.     RPS realleges all of the foregoing allegations.

         14.     As of March 27, 2016, payments on the Promissory Note were not made as

  provided for in the Promissory Note.

         15.     Kadakia is in breach of the terms of the personal guaranty on the promissory note

  because he has not paid the amount due to RPS.

         16.     Kadakia currently owes RPS the sum total of six million dollars, plus interest, of

  $2,502,000 for a total of $8,502,000, calculated as provided for in the Promissory Note at 10%

  interest per annum. See Exhibit B, at ¶13 and Exhibit D.

                                               PRAYER

         WHEREFORE, RPS respectfully requests this Court grant the relief set forth in this

  Complaint, specifically:

     1. A judgment declaring and finding the Defendant Kadakia has breached its

     repayment obligation on the promissory note identified herein.

     2. An award of damages in favor of RPS and against Defendant for Breach of Personal

     Guaranty of Promissory Note in the sum of $6,000,000 plus interest of $2,502,000, for

     a total of $8,502,000, plus prejudgment interest to be calculated under the laws of the

     State of Oklahoma.

     3. Attorney fees and the costs of litigation pursuant to the terms of the promissory

     note serving as the underlying basis for RPS’s claims.

     4. Such further relief to which RPS is entitled.




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  Dated: May 20, 2019                       Respectfully Submitted,

                                            By: /s/ Brent Blackstock         .
                                            R. Brent Blackstock, OBA No. 00839
                                            Lacey L. Shirley, OBA 33269
                                            Mid-Continent Tower, Suite 500
                                            401 S. Boston Ave.
                                            Tulsa, OK 74103
                                            (918) 383-0777 (918) 699-0300 (fax)
                                             Counsel for Plaintiff




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                                   GUARANTY AGREEMENT
 THIS GUARANTY AGREEMENT (this "Guaranty Agreement"), is made as of theM day of March,
 2014, by Ruchir A. Kadakia ( "Guarantor") in favor ofR.P. Small Corp., an Illinois corporation (the
 "Lender").

 RECITALS:
 WHEREAS, Tethys Trading, LLC, an Oklahoma limited liability company (the "Borrower"), made
 a certain promissory note, dated as of the date hereof (the "Note"), in favor of the Lender, pursuant
 to which the Lender made a loan to the Borrower in the amount of Six Million Dollars
 ($6,000,000.00) Dollars, together with interest thereon (the "Loan"); and

 WHEREAS, the Note is secured by, among other things, certain Accounts Receivable and other
 collateral identified in the Pledge and Security Agreement, dated as of the date hereof (the "Borrower
 Collateral"), from the Borrower to the Lender; and

 WHEREAS, as a condition precedent to the making of the Loan, inter a/ia, the Lender has required
 that the Guarantor, who has an equity ownership interest, whether direct or indirect, in the Borrower,
 and thus will directly or indirectly benefit from the Loan, unconditionally enter into and execute this
 Guaranty Agreement, hereby guaranteeing the full, prompt and unconditional payment when due of
 the Loan, and the full and complete performance of all other obligations of the Borrower with respect
 to the Loan (the "Borrower's Obligations"); and

 WHEREAS, the Guarantor has determined that the execution, delivery and performance of this
 Guaranty Agreement directly benefits, and is in the best interests of, the Guarantor; and

 WHEREAS, all words and terms not defined herein shall have the respective meanings and be
 construed herein as provided in the Note and Pledge and Security Agreement;

 THEREFORE, in consideration of the Loan made to the Borrower and with knowledge that the
 Lender would not make the Loan but for the promises of the Guarantor hereunder, the Guarantor,
 hereby absolutely and unconditionally, represents, warrants and covenants as follows:

 1. The Guarantor hereby irrevocably guaranties the full, prompt and unconditional payment when
    due, of the Borrower's Obligations due and owing to the Lender, when and as the same shall
    become due, whether at the stated maturity date, by acceleration or otherwise, and the full,
    prompt, and unconditional performance of each and every term and condition of any transaction
    to be kept and performed by the Borrower under the Note. This Guaranty Agreement is a primary
    obligation of the Guarantor and shall be a continuing inexhaustible Guaranty Agreement. In the
    event any of the Borrower's Obligations shall not be paid or performed according to their terms,
    the Guarantor shall immediately pay or perform the same, this Guaranty Agreement being an
    absolute, irrevocable and unconditional guaranty of full payment and performance and not a
    guaranty of collection.
 2. The Guarantor waives all defenses based upon surety or impairment of collateral, including
    without limitation, any actions or defenses identified generally or specifically under the Uniform
    Commercial Code or other body of law governing sureties or guarantors, waives notice of
    acceptance of this Guaranty Agreement and notice of any of the Borrower's Obligations to which
    it may apply, and waives notice of default, non-payment, partial payment, presentment, demand,
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    protest, notice of protest or dishonor and all other notices to which the Guarantor might otherwise
    be entitled, or which might be required by law and required to be given by the Lender.
 3. The obligations of the Guarantor hereunder shall be unconditional and absolute and, without
    limiting the generality of the foregoing, shall not be released, discharged, be a defense to or
    otherwise affected by:
    (a) any extension, renewal, settlement, indulgence, compromise, waiver or release of or with
        respect to any of the Borrower's Obligations or any part thereof or any agreement relating
        thereto, or with respect to any obligation of any other guarantor of the Borrower's
        Obligations, whether (in any such case) by operation of law or otherwise, or any failure or
        omission to enforce any right, power or remedy with respect to any of the Borrower's
        Obligations or any part thereof or any agreement relating thereto, or with respect to any
        obligation of any other guarantor of any of the Borrower's Obligations;
    (b) any modification or amendment of or supplement to the Note, including, without limitation,
        any such amendment which may increase the amount of the Borrower's Obligations
        guaranteed hereby;
    (c) any release, surrender, compromise, settlement, waiver, subordination or modification, with
        or without consideration, of any collateral securing the Borrower's Obligations or any part
        thereof, any other guaranties with respect to the Borrower's Obligations or any part thereof,
        or any other obligation of any person or entity with respect to the Borrower's Obligations or
        any part thereof, or any non-perfection or invalidity of any direct or indirect security for any
        of the Borrower's Obligations;
    (d) any acceptance by the Lender of additional security to act as collateral for the Borrower's
        Obligations;
    (e) any change in the structure or ownership of the Borrower or any other guarantor of any of the
        Borrower's Obligations, or any solvency, bankruptcy, reorganization, or other similar
        proceeding affecting the Borrower or any other guarantor of any of the Borrower's
        Obligations, or any of their respective assets or any resulting release or discharge of any
        obligation of the Borrower any guarantor of any of the Borrower's Obligations;
    (t) the existence of any claim, set-off or other rights which the Guarantor may have at any time
        against the Borrower, any other guarantor of any of the Borrower's Obligations, the Lender
        or any other person, whether in connection herewith or in connection with any unrelated
        transactions;
    (g) the enforceability or validity of the Borrower's Obligations or any part thereof or the
        genuineness, enforceability or validity of any agreement relating thereto or with respect to
        any collateral securing the Borrower's Obligations or any part thereof, or any other invalidity
        or unenforceability relating to or against the Borrower or any other guarantor of any of the
        Borrower's Obligations, for any reason related to the Note or any provision of applicable law
        or regulation purporting to prohibit the payment by the Borrower or any other guarantor of
        any of the Borrower's Obligations;
    (h) the failure of the Lender to take any steps to perfect and maintain any security interest in, or
        to preserve any rights to, any security or collateral for any of the Borrower's Obligations, if
        any;
    (i) any borrowing or grant of a security interest by the Borrower, debtor-in-possession, under
        Section 364 of the United States Bankruptcy Code;
    G) the disallowance, under Section 502 of the United States Bankruptcy Code, of all or any
        portion of the claims of the Lender for repayment of all or any part of any of the Borrower's
        Obligations;
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    (k) the failure of any other guarantor to sign or become party to this Guaranty Agreement or any
         amendment, change, or reaffirmation hereof; or
    (l) any other act or omission to act or delay of any kind by the Borrower, any other guarantor of
         any of the Borrower's Obligations, the Lender or any other person or any other circumstance
         whatsoever which might, but for the provisions of this Section constitute a legal or equitable
         discharge of the Guarantor's obligations hereunder.
 4. Upon the occurrence of an Event of Default (as such term is defined in the Note), the Lender shall
     be immediately entitled to enforce the obligations of the Guarantor hereunder.
 5. The Lender may at any time before or after an Event of Default exercise its right to set-off all or
     any portion of the Borrower's Obligations owed to it against any liability or indebtedness of the
     Lender to the Borrower or the Guarantor (whether owed by the Borrower or the Guarantor or
     alone or in conjunction with any other person or entity, provided that the Borrower or the
     Guarantor has a beneficial interest therein) without prior notice to the Borrower or Guarantor.
 6. The Guarantor hereby waives any right or claim of right to cause a marshalling of the Borrower's
     assets or to cause the Lender to proceed against any of the security or collateral held by the Lender
     before proceeding against the Guarantor, and the Guarantor hereby waives any and all legal
     requirement that the Lender shall institute any action at law or in equity against the Borrower, or
     anyone else, with respect to the Note or with respect to any other documents, agreements or
     instruments executed by the Borrower or with respect to any security held by the Lender, as a
     condition precedent to bringing any action against the Guarantor upon this Guaranty Agreement.
 7. Until repayment and performance of all of the Borrower's Obligations, the Guarantor hereby
     irrevocably waives and relinquishes any and all statutory, contractual, common law, equitable or
     other claims and rights (a) to seek reimbursement, contribution, indemnification, set-off or other
     recourse from or against the Borrower in connection with any payments made by the Guarantor
     under this Guaranty Agreement and (b) to be subrogated to the Lender's rights under the Note
     upon the Guarantor's performance under this Guaranty Agreement.
 8. This Guaranty Agreement is made and shall continue as to any of the Borrower's Obligations to
     the Lender without regard to the existence of other collateral or security or guaranties, if any, or
     to the validity or effectiveness of any or all thereof; and any or all such collateral and security
     and guaranties may, from time to time, without notice to or consent of the Guarantor, be sold,
     released, surrendered, exchanged, settled, compromised, waived, subordinated or modified, with
     or without consideration, on such terms and conditions as may be acceptable to the Lender
     without in any manner affecting or impairing the liability of the Guarantor. The Guarantor's
     obligations under this Guaranty Agreement shall extend to any and all monies advanced by the
     Lender pursuant to the Note.
 9. If claim is ever made upon the Lender for repayment or recovery of any amount or amounts
     received by the Lender in payment for, or on account of, any of the Borrower's Obligations, and
     the Lender repays all or part of said amount by reason of (a) any judgment, decree or order of
     any court or administrative body having jurisdiction over the Lender or any ofits property, or (b)
     any settlement or compromise of any such claim effected by the Lender with any such claimant
     (including the Borrower), then, and in such event, the Guarantor agrees that any such judgment,
     decree, order, settlement or compromise shall be binding upon him, notwithstanding the
     cancellation of any note or any other instrument evidencing any of the Borrower's Obligations,
     and the Guarantor shal1 be and remain liable to the Lender hereunder for the amount so repaid or
     recovered to the same extent as if such amount had never original1y been received by the Lender.
 10. Settlement of any claim by the Lender against the Borrower, whether in any proceeding or not,
     and whether voluntary or involuntary, shall not reduce the amount due under the terms of this
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     Guaranty Agreement except to the extent of the amount paid by the Borrower in connection with
     the settlement.
 11. No delay on the part of the Lender in exercising any of its rights, powers or privileges or partial
     or single exercise thereof under the Note, this Guaranty Agreement or any other document made
     to or with the Lender by the Borrower shall operate as a waiver of any such privileges, powers or
     rights. No waiver of any of its rights hereunder, and no modification or amendment of this
     Guaranty Agreement, shall be deemed to be made by the Lender unless the same shall be in
     writing, duly signed on behalf of the Lender, by a duly authorized officer, and each such waiver,
     if any, shall apply only with respect to the specific instance involved, and shall in no way impair
     the rights of the Lender or the obligations of the Guarantor to the Lender in any other respect at
     any other time.
 12. All rights, powers and remedies afforded to the Lender by reason of this Guaranty Agreement are
     separate and cumulative remedies and no one of such remedies whether or not exercised by the
     Lender shall be deemed to exclude any of the other remedies available to the Lender nor prejudice
     availability of any other legal or equitable remedy which the Lender may have with respect to the
     Loan.
 13. This Guaranty Agreement shall be governed by and construed in accordance with the laws of the
     State of Oklahoma without reference to principles of conflicts of law, except to the extent that
     the validity or perfection of the security interest granted hereunder, or remedies hereunder, in
     respect of any particular collateral are governed by the laws of another jurisdiction. The fact that
     any part of this Guaranty or the Note may not be enforced will not affect the enforceability of the
     rest of such documents. The Guarantor irrevocably submits to the exclusive jurisdiction of any
     federal or state court located in the State of Oklahoma with respect to any proceedings relating
     to this Guaranty or the Note, and irrevocably agrees not to assert any objection to venue in such
     court or any claim of inconvenient forum. The Guarantor irrevocably consents to service of
     process by mailing of such process by registered or certified mail, postage prepaid, at its address
     set forth below.
 14. This Guaranty Agreement shall be binding upon and inure to the benefit of and be enforceable
     by all parties hereto and their respective successors, assigns, heirs, administrators, executors and
     legal representatives.
 15. All notices and other communications relating to this Guaranty shall be made in writing and
     delivered to the Borrower at 954 West Washington Blvd., Suite 250, Chicago, Illinois 60607, and
     delivered to the Lender at 1585 E. 22nd St., Tulsa, OK 74114-1305, or such other place as the
     Lender shall designate in writing, with a copy to the Guarantor at the address indicated on the
     signature page below. Any such notice shall be deemed effective (i) when delivered, if delivered
     personally or by email or facsimile transmission, (ii) two (2) days after delivered (properly
     addressed and all fees paid) for overnight delivery service to a courier that regularly provides
     such service and regularly obtains executed receipts evidencing delivery, or (iii) five (5) days
     after deposited (properly addressed and stamped for first-class delivery) in the United States mail.
 16. In case of any proceedings to collect any liabilities from the Guarantor, the Guarantor shall pay
     all costs and expenses of every kind for collection, sale or delivery, including reasonable
     attorney's fees, and after deducting such costs and expenses from the proceeds of sale or
     collection, the Lender may apply any residue to the liabilities of the Guarantor who shall continue
     to be liable for any deficiency, with interest at the Note Rate (as such term is defined under the
     Note).
 17. This Guaranty shall be binding upon the Guarantor and the heirs, legal representatives, successors
     and assigns of the Guarantor. If more than one party shall execute this Guaranty, the term
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      "Guarantor" shall mean all parties executing this Guaranty, and all such parties shall be jointly
      and severally obligated hereunder.
  18. In all references herein to any parties, persons, entities or corporations, the use of any particular
      gender or the plural or singular number is intended to include the appropriate gender or number
      as the text of the within instrument may require.
  19. The Guarantor hereby acknowledges and agrees that the Guarantor shall have the sole
      responsibility for obtaining from the Borrower such information concerning the Borrower's
      financial condition and business operations as the Guarantor may require, and that the Lender has
      no duty at any time to disclose to the Guarantor any information relating to the business
      operations or financial condition of the Borrower.
  20. THE GUARANTOR HEREBY EXPRESSLY AND UNCONDITIONALLY WAIVES ANY
      RIGHT TO TRIAL BY JURY OF ANY CLAIM OR CAUSE OF ACTION NOW EXISTING
      OR HEREAFTER ARISING RELATING TO THE LOAN, THIS GUARANTY AGREEMENT,
      THE NOTE OR ANY DEALINGS OR TRANSACTIONS RELATED THERETO AND THE
      GUARANTOR AGREES THAT ANY SUCH CLAIM OR CAUSE OF ACTION SHALL BE
      DECIDED BY COURT TRIAL WITHOUT A JURY.
  21. THE GUARANTOR HEREBY WAIVES ANY RIGHT IT MAY HA VE TO CLAIM OR
      RECOVER IN ANY LITIGATION ANY SPECIAL, EXEMPLARY, PUNITIVE OR
      CONSEQUENTIAL DAMAGES OR ANY DAMAGES OTHER THAN, OR IN ADDITION
      TO, ACTUAL DAMAGES. THE GUARANTOR CERTIFIES THAT NO REPRESENTATIVE,
      AGENT OR ATTORNEY OF THE LENDER HAS REPRESENTED, EXPRESSLY OR
      OTHERWISE, THAT THE LENDER, IN THE EVENT OF LITIGATION, WILL NOT SEEK
      TO ENFORCE THE FOREGOING WAIVER. THIS WAIVER CONSTITUTES A MATERIAL
      INDUCEMENT FOR THE LENDER TO ACCEPT THIS GUARANTY AGREEMENT AND
      MAKE THE LOAN.

  INTENDING TO BE BOUND, the Guarantor has caused this Guaranty Agreement to be duly
  executed and delivered, all as of the day and year first above written.




  94 Deer Plain Dr.
  Spring, TX 77389
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                                      PROMISSORY NOTE

  $6,000,000.00                                                                  March .k-,,2014
                                                                                  Tulsa, Oklahoma

          FOR VALUE RECEIVED, TETHYS TRADING, LLC, an Oklahoma limited liability
  company ("Maker"), promises to pay to the order of R.P. Small Corp. or successors and assigns
  ("Payee"), at Payee's address at 1585 E. 22nd St., Tulsa, OK 74114-1305, the principal amount
  of up to Six Million Dollars ($6,000,000.00), plus interest thereon at the rates set forth below
  (collectively the "Note Rate"). The Note Rate shall apply to the outstanding principal amount of
  this Note received by Maker from Payee or used by Maker as set forth below. Interest shall be
  payable monthly beginning on the 30th day following the date of this Note and every 30 days
  thereafter. Principal and all accrued and unpaid interest shall be due and payable on or before
  March __, 2015 (hereafter the "Maturity Date"). This Note may be paid at any time without
  penalty or additional interest.

          The foregoing notwithstanding, Maker may extend the Maturity Date for four (4)
  successive 12-month periods, upon written notice to Payee not less than five (5) days prior to the
  end of the then-impending Maturity Date or the applicable extension period, so long as Maker is
  then not in default under the terms of this Note. If one or more extensions occur, the other terms
  and conditions of this Note shall remain in full force and effect during such extension or
  extensions.

           The purpose of this Note is to fund, in whole or in part, margin requirements for Maker's
  trades in Distillates-Light Ends. The proceeds of this Note shall be placed by Maker, upon initial
  receipt, in a segregated account maintained at Morgan Stanley, and such proceeds shall not be
  co-mingled with any of Maker's own funds until they are removed from such segregated
  account, the notice of which shall be made by Maker to Payee as of the date on which such funds
  are removed from such segregated account. While the proceeds of this Note are maintained in
  such segregated account, the outstanding principal amount of this Note maintained in such
  account shall accrue interest at the rate of 6% per annum, which interest shall be payable by
  Maker to Payee as set forth herein. From and after the date on which the principal amount of this
  Note is removed by Maker from such segregated account and used with any margin requirement
  for its business, such amount so removed from such account shall then accrue interest at the rate
  of 10% per annum, payable in accordance with the terms hereof.

         The amounts due under this Note shall be secured by that certain Pledge and Security
  Agreement executed by Maker (as debtor) in favor of Payee (as secured party) by which Maker
  pledges to Payee Maker's accounts receivable resulting in any transaction by which Maker uses
  the proceeds of this Note to fund margin requirements as discussed herein.

         Interest on the principal amount of this Note shall be calculated on the basis of the actual
  number of days elapsed in the period for which the calculation is being made based on 360-day
  year. On the Maturity Date, all principal and interest shall be due and payable without notice or
  demand.

         The interest payable upon the indebtedness evidenced by this Note shall not at any time
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  exceed the maximum rate of interest permitted under the laws of the State of Oklahoma for loans
  of the type and character evidenced by this Note.

        All payments under this Note shall be made in lawful currency of the United States of
  America at Payee's residence or office (as set forth above).

           From time to time the Maturity Date of this Note may be extended or this Note may be
  renewed, in whole or in part, or a new note of different form may be substituted for this Note
  and/or the rate of interest may be changed, or changes may be made in consideration of loan
  extensions, and Payee, from time to time, may waive or surrender, either in whole or in part, any
  rights, guarantees, security interests or liens given for the benefit of Payee in connection with
  payment of this Note or any security therefor; but no such occurrences shall in any manner
  affect, limit, modify or otherwise impair any rights, guaranties or security of Payee not
  specifically waived, released or surrendered in writing, nor shall any maker, guarantor, endorser
  or any person who is or might be liable hereon, either primarily or contingently, be released from
  liability by reason of the occurrence of any such event. Payee, from time to time, shall have the
  unlimited right to release any person who might be liable hereon, and such release shall not
  affect or discharge the liability of any other person who is or might be liable hereon.

          In the event that John E. Meyer, Jr. either resigns from his position as, is removed from
  his position of, or ceases to serve as sole Manager of Maker, Payee may, at its option, without
  further notice or demand, declare this Note in default and all indebtedness due and owing
  hereunder shall be due and payable immediately.

           If (a) any payment required by this Note is not made within five (5) business days after
  the due date and receipt by Maker of Notice from Payee, (b) any default occurs under any other
  instrument related hereto or under the provisions of any security agreement, pledge agreement or
  other document or agreement which provides security for the indebtedness evidenced by this
  Note, or (c) Maker applies for or consents to the appointment ofa receiver, trustee, or liquidator
  of itself or of all or a substantial part of its assets, or admits in writing its inability to pay its debts
  as they fall due, or makes a general assignment for the benefit of creditors, or is adjudicated a
  bankrupt or insolvent, or a petition or other proceeding (voluntary or otherwise) is filed by or
  with respect to Maker in which a reorganization or an arrangement with Maker's creditors is
  sought or by which any creditor of Maker or Maker itself seeks to take advantage of any
  insolvency, bankruptcy, reorganization, arrangement, or other similar proceeding, Payee may, at
  its option, without further notice or demand, declare this Note in default and all indebtedness due
  and owing hereunder shall be due and payable immediately. In the event of a default, the entire
  balance (principal and interest) shall be due and payable immediately. All makers, endorsers,
  guarantors and sureties hereby severally waive protest, presentment, demand, and notice of
  protest and nonpayment in case this Note or any payment due hereunder is not paid when due;
  and they agree to any renewal of this Note or to any extension, acceleration or postponement of
  the time of payment, or any other indulgence, to any substitution, exchange or release of
  collateral and to the release of any party or person primarily or contingently liable, without
  prejudice to Payee and without notice to any maker, endorser, guarantor or surety. Maker
  hereof, and any guarantor, endorser, surety or any other person who is or may become liable
  hereon shall, on demand, pay all costs of collection, including reasonable attorney fees incurred
  by Payee in attempting to enforce payment of this Note and for defending the validity of any


                                                       2
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                                     Exhibit B
                                    Page 3 of 3


  document securing this Note.

          This Note is given for an actual loan of money for business purposes and not for
  personal, agricultural or residential purposes, and is executed and delivered in the State of
  Oklahoma and shall be governed by and construed in accordance with the laws of the State of
  Oklahoma. The state or federal courts sitting within Tulsa, Oklahoma shall have exclusive
  jurisdiction over any disputes which arise hereunder and the parties acknowledge that venue is
  proper only in such courts.

                                         TETHYS TRADING, LLC, an Oklahoma
                                         limited liability company




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                                     Exhibit C
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      Exhibit D                                                    Tethys Promissory Note
                                                              Interest Accrued since April 2014


                    Date                    interest each month
                                                            Total Due by Month
                           $   6,000,000.00 $       50,000 $                             6,050,000
                4/1/2014   $   6,000,000.00 $     100,000 $                              6,100,000
                5/1/2014   $   6,000,000.00 $     150,000 $                              6,150,000
                6/1/2014   $   6,000,000.00 $     200,000 $                              6,200,000
                7/1/2014   $   6,000,000.00 $     250,000 $                              6,250,000
                8/1/2014   $   6,000,000.00 $     300,000 $                              6,300,000
                9/1/2014   $   6,000,000.00 $     350,000 $                              6,350,000
               10/1/2014   $   6,000,000.00 $     400,000 $                              6,400,000
               11/1/2014   $   6,000,000.00 $     450,000 $                              6,450,000
               12/1/2014   $   6,000,000.00 $     500,000 $                              6,500,000
                1/1/2015   $   6,000,000.00 $     550,000 $                              6,550,000
                2/1/2015   $   6,000,000.00 $     600,000 $                              6,600,000
                3/1/2015   $   6,000,000.00 $     650,000 $                              6,650,000
                4/1/2015   $   6,000,000.00 $     700,000 $                              6,700,000
                5/1/2015   $   6,000,000.00 $     750,000 $                              6,750,000
                6/1/2015   $   6,000,000.00 $     800,000 $                              6,800,000
                7/1/2015   $   6,000,000.00 $     850,000 $                              6,850,000
                8/1/2015   $   6,000,000.00 $     900,000 $                              6,900,000
                9/1/2015   $   6,000,000.00 $     950,000 $                              6,950,000
               10/1/2015   $   6,000,000.00 $ 1,000,000 $                                7,000,000
               11/1/2015   $   6,000,000.00 $ 1,050,000 $                                7,050,000
               12/1/2015   $   6,000,000.00 $ 1,100,000 $                                7,100,000
2015 tax benefit                            $     248,000
                1/1/2016 $     6,000,000.00 $     852,000 $                              6,852,000
cash payment applied to
                  interest                    $     300,000
                           $   6,000,000.00   $     552,000     $                        6,552,000
                2/1/2016 $     6,000,000.00   $     602,000     $                        6,602,000
                3/1/2016 $     6,000,000.00   $     652,000     $                        6,652,000
                4/1/2016 $     6,000,000.00   $     702,000     $                        6,702,000
                5/1/2016 $     6,000,000.00   $     752,000     $                        6,752,000
                6/1/2016 $     6,000,000.00   $     802,000     $                        6,802,000
                7/1/2016 $     6,000,000.00   $     852,000     $                        6,852,000
                8/1/2016 $     6,000,000.00   $     902,000     $                        6,902,000
                9/1/2016 $     6,000,000.00   $     952,000     $                        6,952,000
               10/1/2016 $     6,000,000.00   $   1,002,000     $                        7,002,000
               11/1/2016 $     6,000,000.00   $   1,052,000     $                        7,052,000
               12/1/2016 $     6,000,000.00   $   1,102,000     $                        7,102,000
                1/1/2017 $     6,000,000.00   $   1,152,000     $                        7,152,000
                2/1/2017 $     6,000,000.00   $   1,202,000     $                        7,202,000
                3/1/2017 $     6,000,000.00   $   1,252,000     $                        7,252,000
                4/1/2017 $     6,000,000.00   $   1,302,000     $                        7,302,000
                5/1/2017 $     6,000,000.00   $   1,352,000     $                        7,352,000
                6/1/2017 $     6,000,000.00   $   1,402,000     $                        7,402,000
                7/1/2017 $     6,000,000.00   $   1,452,000     $                        7,452,000
                8/1/2017 $     6,000,000.00   $   1,502,000     $                        7,502,000
                9/1/2017 $     6,000,000.00   $   1,552,000     $                        7,552,000
               10/1/2017 $     6,000,000.00   $   1,602,000     $                        7,602,000
               11/1/2017 $     6,000,000.00   $   1,652,000     $                        7,652,000
               12/1/2017 $     6,000,000.00   $   1,702,000     $                        7,702,000
                1/1/2018 $     6,000,000.00   $   1,752,000     $                        7,752,000
                2/1/2018 $     6,000,000.00   $   1,802,000     $                        7,802,000
                3/1/2018 $     6,000,000.00   $   1,852,000     $                        7,852,000
                4/1/2018 $     6,000,000.00   $   1,902,000     $                        7,902,000
                5/1/2018 $     6,000,000.00   $   1,952,000     $                        7,952,000
                6/1/2018 $     6,000,000.00   $   2,002,000     $                        8,002,000
                7/1/2018 $     6,000,000.00   $   2,052,000     $                        8,052,000
                8/1/2018 $     6,000,000.00   $   2,102,000     $                        8,102,000
                9/1/2018 $     6,000,000.00   $   2,152,000     $                        8,152,000
               10/1/2018 $     6,000,000.00   $   2,202,000     $                        8,202,000
               11/1/2018 $     6,000,000.00   $   2,252,000     $                        8,252,000
               12/1/2018 $     6,000,000.00   $   2,302,000     $                        8,302,000
                1/1/2019 $     6,000,000.00   $   2,352,000     $                        8,352,000
                2/1/2019 $     6,000,000.00   $   2,402,000     $                        8,402,000
                3/1/2019 $     6,000,000.00   $   2,452,000     $                        8,452,000
                4/1/2019 $     6,000,000.00   $   2,502,000     $                        8,502,000
       total interest due                     $   2,502,000
       total balance due                                        $                        8,502,000
